   Case 1:22-cv-01859-JMS-MG Document 1-2 Filed 09/21/22 Page 1 of 2 PageID #: 20



                                  United States District Court
                                                       for the
                                             Southern District of Indiana

THE SATANTIC TEMPLE                                       )
                                                          )
                                Plaintiff,                )
                                                          )
                vs.                                       )        Cause No:
                                                          )
                                                          )
ERIC HOLCOMB, in his capacity as                          )
the Governor of Indiana; and                              )
TODD ROKITA, in his                                       )
capacity as the Attorney General of                       )
Indiana                                                   )
                                                          )
                                                          )
                                Defendants.               )


                                      SUMMONS IN A CIVIL ACTION

TO:     GOVERNOR ERIC HOLCOMB
        200 W. Washington St., Rm. 206,
        Indianapolis, IN 46204 and

        ATTORNEY GENERAL TODD ROKITA
        Indiana Government Center South
        302 W. Washington St., 5th Floor
        Indianapolis, IN 46204

        A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address are:

                                     W. JAMES MAC NAUGHTON, ESQ.
                                      7 FREDON MARKSBORO ROAD
                                           NEWTON, NJ 07860

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


                                                          CLERK OF COURT



Date: ______________________                              _______________________________________
                                                          Signature of Clerk or Deputy Clerk
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                                                                                             Civil Summons (Page 2)
Civil Action Number: __________________________

                                              PROOF OF SERVICE
               (this section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

        This summons for (name of individual and title, if any) ______________________________________

was received by me on (date)__________________.

        I personally served the summons on the individual at (place) __________________________________

        ________________________________________________ on (date) __________________; or

        I left the summons at the individual’s residence or usual place of abode with (name)________________

        _____________________________________, a person of suitable age and discretion who resides there,

        on (date) __________________, and mailed a copy to the individual’s last known address; or

        I served the summons on (name of individual) ________________________________________, who is

        designated by law to accept service of process on behalf of (name of organization) _________________

        ________________________________________on (date) __________________; or

        I returned the summons unexecuted because _____________________________________________; or

        Other (specify):



My fees are $ _____________for travel and $_______________for services, for a total of $_______________.


I declare under penalty of perjury that this information is true.


Date: ____________________                         __________________________________________________
                                                   Server’s Signature


                                                   __________________________________________________
                                                   Printed name and title


                                                   __________________________________________________
                                                   Server’s address

Additional information regarding attempted service, etc.
